
13 So.3d 397 (2009)
Ex parte Bay John DEVELOPERS II, L.L.C.
In re Wayne Dyess et al.
v.
Bay John Developers II, L.L.C.
1070486.
Supreme Court of Alabama.
January 16, 2009.
Daniel G. Blackburn of Blackburn &amp; Conner, P.C., Bay Minette; Richard H. Gill of Copeland, Franco, Screws &amp; Gill, P.A., Montgomery; and Julie R. Herbert, Jr., of Herbert Law Firm, L.L.C., Gulf Shores, for petitioner.
Frank E. Bankston, Jr., and Winthrop E. Johnson of Webb &amp; Eley, P.C., Montgomery; and J. Scott Barnett, chief county counsel, and E. Erich Bergdolt, asst. chief counsel, Bay Minette, for respondents.
Prior report: Ala.Civ.App., 13 So.3d 390.
SEE, Justice.
The petition for the writ of certiorari is quashed.
In quashing the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Civil Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT QUASHED.
COBB, C.J., and WOODALL, SMITH, and PARKER, JJ., concur.
